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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                       :

         v.                                     :       No. 25-CR-164 (JMC)

 EMILY SOMMER                                   :


         AMENDED JOINT MOTION TO CONTINUE PRETRIAL DEADLINES

         Ms. Emily Sommer, through undersigned counsel, and counsel for the government,

 jointly move the Court to continue the pretrial deadlines as follows:

         Motions: July 23, 2025;

         Oppositions: July 30, 2025;

         Replies: August 4, 2025;

         Def Expert Notice: August 1, 2025;

         Exhibit Lists: August 4, 2025;

         Objections to Exhibits: August 6, 2025;

         Giglio: August 4, 2025;

         Joint Pretrial Statement: August 6, 2025; and

         Pretrial Conference: August 11, 12 or 13, 2025.

The Parties are available for a pretrial conference on August 11, 2025 at 3pm, August 12, 2025 all

day, or August 13, 2025 from 11am-2pm or at 3pm.

       The parties jointly make this request to provide sufficient time to meet all pretrial deadlines

and permit the parties to confer on disputed issues prior to trial.

         For the reasons herein, the parties respectfully move the Court to continue the pretrial

 deadlines as noted above.

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                             Respectfully submitted,

                             A. J. KRAMER
                             FEDERAL PUBLIC DEFENDER

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